Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 1 of 83




                          Exhibit 30
FILED: NEW YORK COUNTY CLERK 04/08/2016 04:15 PM                                    INDEX NO. 653462/2014
             Case
NYSCEF DOC. NO. 1421:15-cv-05345-AJN-KHP   Document 143-17 Filed 05/12/16  Page 2NYSCEF:
                                                                        RECEIVED  of 83 04/08/2016



         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF NEW YORK
         ----------------------------------------- x
                                                   :
         TRIADOU SPV S.A.,
                                                   :
                                 Plaintiff,        :
                                                   :                Index no. 653462/2014
               -against-                           :
                                                   :
         CF 135 FLAT LLC, CF 135 WEST MEMBER LLC,  :
         and THE CHETRIT GROUP LLC,                :
                                                   :
                                 Defendants.       :
                                                   :
         ----------------------------------------- x




              MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF’S MOTION FOR A
                                    RECEIVER




                                     KRAVIT PARTNERS, LLC
                                           79 Madison Avenue
                                        New York, NY 10016
                                            (212) 252-0550
                                Attorneys for Plaintiff Triadou SPV S.A.




                                               1 of 12
    Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 3 of 83



       Plaintiff Triadou SPV S.A. (“Triadou”) respectfully submits this memorandum of law in

support of its motion pursuant to CPLR § 5228(a) for a receiver to be appointed over defendant

judgment debtors CF 135 Flat LLC and CF 135 West Member LLC and the limited liability

company (“LLC”) membership interests in 135 West 52nd Street Holder LLC, an LLC owned by

CF 135 West Member LLC (collectively, the “135 LLCs”).

                               PRELIMINARY STATEMENT

       Triadou has obtained and is the judgment creditor with respect to two judgments in the

aggregate amount of $10.5 million against the Defendants (the “Judgments”), and will shortly

obtain additional judgments for another $10.5 million against the Defendants, together with pre-

judgment and post-judgment interest at 9%. On March 16, 2016, this Court ended the

Defendants’ groundless efforts to stay enforcement of the Judgments. The only assets of the 135

LLCs appear to be their LLC membership interests in LLCs that own a valuable new

condominium project located at 135 West 52nd Street in Manhattan (the “Flatotel

Condominium”). The only conceivable pathway for the 135 LLCs to obtain funds to satisfy

Triadou’s Judgments is for a receiver to cause the 135 LLCs to monetize their interest in the

Flatotel Condominium through the LLC interests they own and control. As such, Triadou

requests that a receiver knowledgeable about complex real estate development projects be

appointed by the Court over the 135 LLCs to administer and collect all distributions, profits and

any other funds to which the 135 LLCs are entitled so as to satisfy the Judgments.

                     PROCEDURAL AND FACTUAL BACKGROUND

       135 Flat and Triadou are parties to an agreement dated August 4, 2014 whereby Triadou

assigned to 135 Flat Triadou’s interest in 135 West Member (the “Assignment”). Pursuant to an

agreement dated August 4, 2014, Defendants 135 Flat and 135 West Member, together with The



                                                2
 

                                            2 of 12
    Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 4 of 83



Chetrit Group, LLC (collectively, the “Guarantors”), agreed to guaranty the obligations of 135

Flat under the Assignment (the “Guaranty”). Affirmation of Craig B. Kravit, dated April 8, 2016

(“Kravit Aff.”) ¶ 2.

       As part of the consideration to Triadou for the Assignment, 135 Flat agreed to pay

Triadou $21 million in four installments of $5,250,000 each between November 2, 2014 and

June 30, 2015 (the “Installment Obligations”) and the Guarantors agreed to guaranty such

payments. As this Court is aware, and Defendants have openly acknowledged, 135 Flat failed to

make any of Installment Obligations and was and is in default under the Assignment. The

Guarantors similarly failed to make any of Installment Obligations upon 135 Flat’s default and

were also in default under the Guaranty. Each of the defaulted Installment Obligations carry 9%

default interest from the date of default. Id. ¶ 3.

       As a result, Triadou has been forced to commence four (4) actions in New York Supreme

Court against 135 Flat, 135 West Member and The Chetrit Group (the “Judgment Debtors”)

bearing index numbers 653462/2014, 650239/2015, 154681/2015 and 156907/2015 to collect on

the four (4) defaulted Installment Obligations. Judgments have been issued in the actions

bearing index numbers 653462/2014 and 650239/2015 in the amounts of $5,250,000 each,

together with interest of 9% from the dates of default. Triadou has filed motions for summary

judgment in lieu of complaint in the actions bearing index numbers 154681/2015 and

156907/2015. (The two issued Judgments and any other judgments that are issued in Triadou’s

favor in the future are hereinafter referred to as the “135 Judgments”). Kravit Aff. ¶ 5.

       On July 7, 2015, Defendants moved by order to show cause for a stay of proceedings on

the purported ground that Defendants were at risk of potential double liability to Triadou and

non-party City of Almaty, Kazakhstan ("Almaty"). For that reason, and in anticipation that a



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                                               3 of 12
    Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 5 of 83



stay would be granted, Defendants commenced an interpleader action on July 7, 2015 in the

Supreme Court of the State of New York, New York County, naming Triadou and Almaty as

defendants. Id. ¶ 6.

       On July 9, 2015, Almaty filed a notice of removal of Defendants' interpleader action to

the United State District Court for the Southern District of New York. The removed interpleader

action is entitled CF 135 Flat LLC, CF 135 West Member LLC, and The Chetrit Group LLC v.

Triadou SPV S.A. and City of Almaty, a foreign city, 15-cv-5345 (AJN) (hereafter, the “Federal

Interpleader Action”). Id. ¶ 7.

       On July 13, 2015, this Court issued an order temporarily staying proceedings in this

action pending the Court's disposition of Defendants' order to show cause. On February 2, 2016,

Justice Mills issued a decision and order ((NYSCEF Doc. No. 95) determining, inter alia, that "a

possibility of inconsistent judgments exists . . .[since] the court in the interpleader action may

determine that [the $21 million] should be paid to Almaty," and granting Defendants' motion for

a stay of proceedings on the condition that Defendants deposit the sum of $21 million with the

Court within 20 days of service of the order with notice of entry.” Id. ¶ 8. Consistent with their

pattern of disrespect for this Court’s orders, Defendants sought from the Federal court in the

interpleader action a stay of the proceedings in this Court and specifically Judge Mills February

2, 2016 order. That stay was summarily denied by the Federal court (Nathan, J.) on February 22,

2016. (A copy of Judge Nathan’s February 22, 2016 decision and order is annexed as Exhibit E

to the Kravit Aff.)

       On February 16, 2016, Triadou served Defendants with a copy of the February 2 Order

with notice of entry. On March 8, 2015, this Court issued an Order extending the deposit

deadline by 48 hours to March 10, 2016. The Court held as follows:



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                                              4 of 12
    Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 6 of 83



       Upon the foregoing papers, it is ordered that the Court declines to sign the Order
       to Show Cause as the movant has failed to present to the Court sufficient proof of
       irreparable injury and that it would likely be successful on the merits. Movant has
       not provided sufficient proof that the alleged deal would fall through, that it lacks
       the funds to pay the amount ordered by Judge Mills or that equities favor movant.
       In this matter (and related matters) Judge Mills stayed all proceedings for the
       movant to deposit the $21 million into Court. The Order was based upon
       representations of movant that it would do so. Now, without any sufficient
       evidence to the contrary and despite admitting that it owes the money, but just not
       sure who to pay, movant seeks to extend the time for such payment despite its own
       earlier representations to the contrary. Without further explanation and
       [illegible] it seeks to backtrack on its earlier representations, the Court declines
       to sign the OSC with restraints at this time. [Illegible]. (Italics added for
       emphasis).

Kravit Aff. ¶ 9.

       Undeterred, Defendants moved again by order to show cause on March 10, 2016

requesting another 60 days to deposit the $21 million they admit is due and owing to Triadou.

The Court rejected Defendants’ application and issued the following order dated March 16, 2016

and entered on March 22, 2016 (NYSCEF Doc. No. 133):

       Upon the foregoing papers, it is ordered that [Defendants’ motion to stay
       proceedings] is denied for the reasons stated upon the record. There is no good
       cause basis to extend the time to post the $21 million [illegible] which Justice
       Mills ordered paid into court in consideration for obtaining the stay of entry and
       enforcement of judgments in this matter. All stays are vacated. This decision
       closes all motions extending the deadline including 156907/2015, 154681/2015 or
       650239/2015. (Italics added for emphasis).

Kravit Aff. ¶ 10. (The transcript of the March 16, 2016 hearing before this Court is annexed as

Exhibit A to the Kravit Aff.)

       On March 18, 2016, Judge Nathan in the Federal Interpleader Action dismissed

Defendants’ interpleader claim entirely, holding that the Defendants’ were not subject to

potential double liability to both Triadou and Almaty because the $21 million claimed by

Triadou is not the same claim Almaty has to an interest in the Flatotel Condominium project:

“Triadou seeks from Plaintiffs the $21 million purchase price of its assignment, while Almaty


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                                             5 of 12
    Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 7 of 83



could only seek to set aside the assignment and recover its interest in the real estate holding

company. Because Plaintiffs here do not face “multiple claims to the same fund, interpleader is

not appropriate in this case.” CF 135 Flat LLC v. Triadou SPV S.A., No. 15-cv- 5345 (AJN),

2016 WL 1109092, at *5 (S.D.N.Y. Mar. 18, 2016). As Judge Nathan’s decision revealed, the

Defendants’ interpleader complaint was nothing more than a misguided stalling tactic. Kravit

Aff. ¶ 11.

       Significantly, Defendants have continued the interpleader action even though it has

settled with Almaty and faces no exposure to Almaty at all. According to its own

acknowledgement and submission to Judge Nathan in the Federal Interpleader Action, Almaty

and the Defendants entered into a settlement agreement with one another (the “Settlement

Agreement”). While Defendants have refused to produce the Settlement Agreement to Triadou

(which will be the subject of a separate application to the Court), Defendants apparently

conveyed to Almaty an interest in the Flatotel Condominium project. What that means is that

Almaty and Defendants are now on the same side fighting Triadou’s enforcement of the

Judgments because every dollar paid to Triadou is less money from the project that Defendants

and Almaty will receive. Id. ¶ 12.

       Thus, it came as no surprise that Almaty has now become the Defendants’ stalking horse

in trying to block Triadou’s enforcement efforts. Incredibly, Almaty has recently made yet

another application to Judge Nathan, this time for an injunction restraining Triadou from

enforcing the Judgments in this action. While we believe that Judge Nathan will not enjoin these

state court proceedings under any circumstances, particularly in light of her dim view of the

Defendants’ interpleader gambit and this Court’s March 8 and March 16, 2016 orders, the

Defendants’ latest tactic of using it new partner, Almaty, as a stalking horse in a further attempt



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                                              6 of 12
    Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 8 of 83



to impede Triadou’s enforcement of the Judgments strongly suggests a contumacious attitude

towards this Court’s March 16, 2016 order vacating, once and for, all stays on Triadou’s

enforcement efforts. Id. ¶ 13.

The Need For a Receiver

       There is no question at this point that Defendants will never willingly pay Triadou the

amounts Defendants concede they owe to Triadou. As a consequence, Triadou must proceed

with the most appropriate enforcement methods available. For the following reasons, the most

appropriate enforcement method here is the appointment of a receiver over the 135 LLCs and the

valuable LLC membership interests owned by the 135 LLCs, which LLCs indirectly own the

valuable Flatotel Condominium.

       It is clear that enforcement methods other than a receiver will likely be fruitless. The

Defendants have represented to this Court that they have no funds to pay Triadou or to pay the

promised interpleader funds into Court because the Flatotel Condominium it still selling its

multi-million dollar units and the construction lender, Deutsche Bank, was still owed a

substantial amount on the construction loan. See Affidavit of Joseph Chetrit, sworn to on March

10, 2016 (“Chetrit Aff.”) (NYSCEF Doc. No. 109), ¶ 12 (“Defendants do not have any money

now. Neither CF 135 Flat LLC nor CF 135 has a bank account or any liquid assets. The Chetrit

Group's most recent available bank statements, from August 2015 through January 2016,

demonstrate that The Chetrit Group had a negative account balance for most of that period.”)

Thus, there are apparently no bank accounts in the name of the Defendants with funds to levy

upon. Kravit Aff. ¶ 15.

       However, Mr. Chetrit also swore in his affidavit that the Deutsche Bank loan would soon

be paid off and the Flatotel Condominium would be shortly generating tens of millions of



                                                7
 

                                             7 of 12
    Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 9 of 83



dollars, including enough to pay the $21 million owed to Triadou. Chetrit Aff. ¶¶ 8-11. Mr.

Chetrit continues to thumb his nose at Triadou, however, and it is extremely unlikely he will

authorize the LLCs owned by the Defendants to distribute cash through the chain of control to

the Defendants while Triadou’s Judgments are outstanding. Mr. Chetrit, through the LLCs

owned by Defendant Judgment Debtors, controls the actions of the Defendants and those LLCs,

a fact of which he assured Triadou when Triadou invested in the Flatotel Condominium project.

Kravit Aff. ¶ 6. See Exhibit B annexed to the Kravit Aff. hereto which include assurance letters

appended to the 135 Flat Operating Agreement. .

       Leaving the Defendants and their interest in the LLCs in Mr. Chetrit’s hands virtually

assures that Defendants will never receive the funds to which they are entitled under the relevant

operating agreements because there is no one to oppose Mr. Chetrit’s wishes as to how funds are

distributed through the chain of LLCs to Defendants. As a consequence, the appointment of a

receiver to pursue the Defendants’ right to distributions from the Flatotel Condominium project

is the best way — and possibly the only way — for the Defendants to obtain funds to satisfy

Triadou’s Judgments.

       Specifically, a receiver must be appointed over the 135 LLCs and their membership

interests in 135 West 52nd Street Holder LLC. Since, according to the original agreement

between Defendant 135 Flat and Triadou, “[t]he operating agreements for the Fee Owner [i.e.,

135 West 52nd Street Owner LLC which owns the Flatotel Condominium] and Mezz [i.e., 135

West 52nd Street Mezz LLC which owns all of the membership interests in the Fee Owner] shall

provide that all actions on the part of the Fee Owner and Mezz shall require the consent of

[Defendant CF 135 West Member LLC],” control by a receiver of Defendant 135 West Member

would control the underlying assets (Kravit Aff., Ex. B ¶ 4.) In addition, the operating



                                                8
 

                                             8 of 12
    Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 10 of 83



agreement for Defendant 135 West Member (Kravit Aff., Ex C) provides that it controls the

management of 135 West 52nd Street Holder LLC. The operating agreement of 135 West 52nd

Street Holder LLC (Kravit Aff., Ex. D hereto), in turn, provides that 135 West Member is the

managing member of 135 West 52nd Street Holder LLC and is empowered and has the duty to

cause the Fee Owner and Mezz to operate and manage the Flatotel Condominium project, subject

to approval of certain decisions by the 25% owner of 135 West 52nd Street Holder LLC, Clipper

135 West LLC. (Kravit Aff., Ex. D, Section 6.1.) Thus, if a receiver is appointed over

Defendant 135 West Member and its membership interest in 135 West 52nd Street Holder LLC,

that receiver will have the power to exercise control over the Fee Owner, Mezz, and the

development of the Flatotel Condominium project which is essential to the effective marshalling

of assets for the satisfaction of Triadou’s Judgments.

                                           ARGUMENT

       CPLR § 5228(a) provides: “Upon motion of a judgment creditor ... the court may appoint

a receiver who may be authorized to administer, collect, improve, lease, repair or sell any real or

personal property in which the judgment debtor has an interest or to do any other acts designed

to satisfy the judgment.” The appointment of a receiver is a matter within this Court’s discretion.

Hotel 71 Mezz Lender LLC v. Falor, 14 N.Y.3d 303, 317 (2010). In deciding whether the

appointment of receiver is justified, the Courts should consider the “(1) alternative remedies

available to the creditor ...; (2) the degree to which receivership will increase the likelihood of

satisfaction ...; and (3) the risk of fraud or insolvency if a receiver is not appointed.” Id. (quoting

(United States v. Zitron, 80-cv-6535 (RLC), 1990 WL 13278, at *1 (S.D.N.Y., Feb. 2, 1990)).

“A receivership has been held especially appropriate when the property interest involved is

intangible, lacks a ready market, and presents nothing that a sheriff can work with at an auction,



                                                   9
 

                                               9 of 12
    Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 11 of 83



such as the interest of a psychiatrist/judgment debtor in a professional corporation of which he is

a member.” Siegel, N.Y. Prac. § 512, at 872 (4th ed). See Hotel 71 Mezz Lender LLC v. Falor,

14 N.Y.3d 303 at 317.

       An appointment of a receiver over the 135 LLCs and their membership interests is

especially appropriate because the Defendants themselves have represented to the Court that they

have no assets beyond their membership interests in companies owning the valuable Flatotel

Condominium. As a consequence, Triadou has no “alternative remedies” because it cannot levy

upon any of the Defendants’ bank accounts because they admittedly have no funds. See, e.g,,

Coscia v. Eljamal, 48 Misc.3d 361, 366 (Sup. Ct. West. Cty. 2015) (appointment of a receiver

over the defendant’s LLC membership interest is appropriate based on the defendant’s admission

that he had insufficient assets to satisfy the judgment).

       Moreover, the Defendants are likely to actively frustrate Triadou’s recovery by refusing

to cause the lower level LLCs to distribute funds up to Defendants, their parent companies.

Indeed, Defendants have gone to great lengths to frustrate Triadou efforts to collect the funds

Defendants concede they owe to Triadou. Defendants have opposed each and every one of

Triadou’s motions for summary judgment in lieu of complaints; they have filed a misguided

interpleader action; received numerous stays based on their misrepresentations the Court that

they would pay the $21 million into court; and they are continuing their scheme to thwart

Triadou’s enforcement of the Judgments by using Almaty as a stalking horse to make another

motion to enjoin Triadou’s collection efforts. See Am. Honda Fin. Corp. v. Route 57 Dev., LLC,

No. 7:13-cv-0260(GTS)(ATB), 2016 WL 843377, at *16 (N.D.N.Y., Mar. 1, 2016) (appointing a

receiver based upon, among other things, the defendant ignoring the judgment and the

probability that the defendant would continue to frustrate the collection efforts). Therefore,



                                                 10
 

                                             10 of 12
    Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 12 of 83



simply obtaining a “charging interest” in the distribution and profits allocated to Defendants (see,

e.g., Am. Honda Fin. Corp. v. Route 57 Dev., LLC, 2016 WL 843377, at *14-15) — which

Defendants will never allow — is not an adequate alternative remedy.

       Most importantly, the appointment of a receiver over the 135 LLCs and their membership

interests in 135 West 52nd Street Holder LLC is particularly appropriate because the 135 LLCs

and their membership interests in the underlying LLCs are not marketable without the control of

a manager. Thus, “turning over the [LLC membership interests] over to the sheriff would not be

helpful in trying to satisfy the judgment.” See Hotel 71 Mezz Lender LLC v. Falor, 14 N.Y.3d

303 at 318; see also Coscia v. Eljamal, 48 Misc.3d at 366 (lack of marketability of membership

interest in an LLC justifies the appointment of a receiver). Because the 135 LLCs membership

interests lack marketability, a receiver is necessary to obtain value for the 135 LLCs membership

interests by exercising the powers and rights the LLC membership interests represent, i.e., in this

case the ability to become the managing member of the lower level LLCs. Kravit Aff. ¶ 18.



                                         CONCLUSION

       For all of the foregoing reason, Triadou respectfully request that the Court grant

Triadou’s application for a receiver pursuant to CPLR § 5228(a) over the Defendants CF 135

Flat LLC, CF 135 West Member LLC, and CF 135 West Member LLC’s membership interest in

135 West 52nd Street Holder LLC and to act as the managing member 135 West 52nd Street

Holder LLC to exercise the rights as managing member to collect all distributions, profits and




                                                11
 

                                            11 of 12
    Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 13 of 83



any other funds to which Defendants CF 135 Flat LLC and CF 135 West Member LLC are

entitled so as to satisfy the Judgments.

Dated: April 8, 2016

                                            KRAVIT PARTNERS, LLC


                                            By:_/s/ Philip M. Smith___________
                                                   Craig B. Kravit
                                                   Philip M. Smith

                                            79 Madison Avenue
                                            New York, NY 10016
                                            (212) 252-0550

                                            Email: cbk@kravit.com
                                                   psmith@kravit.com

                                            Attorneys for Plaintiff Triadou SPV S.A.




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                                           12 of 12
   Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 14 of 83



                                                     At I.A.S. Part ___, of the Supreme Court of
                                                     the State of New York, held in and for the
                                                     County of New York, at 111 Centre Street,
                                                     New York, New York, on the ____ day of
                                                     April, 2016


P R E S E N T: DAVID B. COHEN, J.S.C.

SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF NEW YORK
----------------------------------------- x
                                          :
TRIADOU SPV S.A.,
                                          :
                        Plaintiff,        :
                                          :                       Index no. 653462/2014
      -against-                           :
                                          :                       ORDER TO SHOW CAUSE
CF 135 FLAT LLC, CF 135 WEST MEMBER LLC,  :
and THE CHETRIT GROUP LLC,                :
                                          :
                        Defendants.       :
                                          :
----------------------------------------- x


        Upon the affirmation of Craig B. Kravit, Esq., dated April 8, 2016, and the exhibits

annexed thereto, and the accompanying memorandum of law, and sufficient cause appearing

therefore, it is hereby

        ORDERED, that Defendants CF 135 Flat LLC and CF 135 West Member LLC show

cause at I.A.S. Part 58 of the Supreme Court of the State of New York, for the County of New

York, at the Courthouse located at 111 Centre Street, New York, NY, on the ___ day of April,

2016 at 9:30 in the forenoon of that day, or as soon thereafter as counsel can be heard, why an

order should not be entered, pursuant to CPLR § 5228(a) for a receiver to be appointed over

defendant judgment debtors CF 135 Flat LLC and CF 135 West Member LLC and CF 135 West

Member LLC’s limited liability company (“LLC”) membership interests in 135 West 52nd Street

Holder LLC, and such other and further relief as may to the Court seem just and proper.




2538
                                             1 of 2
   Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 15 of 83



       ORDERED, that any opposition to the relief sought herein shall be served on Triadou’s

attorneys, Kravit Partners, LLC and Peyrot & Associates, P.C., via electronic filing (NYSCEF)

on or before the ___ day of April, 2016.

       ORDERED, that any reply papers in further support of the relief sought herein shall by

served upon Defendants’ attorneys, Sukenik, Segal & Graff, P.C. via electronic filing (NYSCEF)

on or before the ___ day of April, 2016.

       Sufficient cause appearing therefor, let service of a copy of this order, the affirmation in

support and accompanying memorandum of law upon the attorneys for the Defendants, Sukenik,

Segal & Graff, P.C. on or before the ___ day of April, 2016 be good and sufficient.



                                                      ENTER:


                                                      _____________________________, J.S.C.




2538
                                              2 of 2
FILED: NEW YORK COUNTY CLERK 04/08/2016 04:15 PM                                             INDEX NO. 653462/2014
            Case
NYSCEF DOC. NO.   1:15-cv-05345-AJN-KHP
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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF NEW YORK
         ----------------------------------------- x
                                                   :
         TRIADOU SPV S.A.,
                                                   :
                                 Plaintiff,        :
                                                   :                        INDEX # 653462/2014
               -against-                           :
                                                   :                        AFFIRMATION IN
         CF 135 FLAT LLC, CF 135 WEST MEMBER LLC,  :                        SUPPORT OF MOTION
         and THE CHETRIT GROUP LLC,                :                        FOR RECEIVER
                                                   :
                                 Defendants.       :
                                                   :
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                Craig B. Kravit, an attorney admitted to practice in the courts of the State of New York,

         affirms the following under penalty of perjury:

                1.         I am the managing member of Kravit Partners LLC, attorneys for plaintiff

         Triadou SPV S.A. (“Triadou”), together with Peyrot & Associates P.C. (“Peyrot”). I make this

         affirmation in support of Triadou’s motion pursuant to CPLR § 5228(a) for a receiver to be

         appointed over defendant judgment debtors CF 135 Flat LLC (“135 Flat”) and CF 135 West

         Member LLC (“135 West Member”) and the limited liability company (“LLC”) membership

         interests in 135 West 52nd Street Holder LLC, an LLC owned by CF 135 West Member LLC

         (collectively with 135 Flat and 135 West member, the “135 LLCs”). As set forth more fully in

         this affirmation and in the accompanying memorandum of law, Triadou has obtained and is the

         judgment creditor with respect to two judgments in the aggregate amount of $10.5 million

         against the Defendants (the “Judgments”), and will shortly obtain additional judgments for

         another $10.5 million against the Defendants, together with pre-judgment and post-judgment

         interest at 9%.




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                                                        1 of 9
   Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 17 of 83



       2.      On March 16, 2016, this Court ended the Defendants’ groundless efforts to stay

enforcement of the Judgments. The only assets of the 135 LLCs appear to be their LLC

membership interests in LLCs that own a valuable new condominium project located at 135

West 52nd Street in Manhattan (the “Flatotel Condominium”). The only conceivable pathway for

the 135 LLCs to obtain funds to satisfy Triadou’s Judgments is for a receiver to cause the 135

LLCs to monetize their interest in the Flatotel Condominium through the LLC interests they own

and control. As such, Triadou requests that a receiver knowledgeable about complex real estate

development projects be appointed by the Court over the 135 LLCs to administer and collect all

distributions, profits and any other funds to which the 135 LLCs are entitled so as to satisfy the

Judgments.

                      BACKGROUND AND PROCEDUAL HISTORY

       3.      135 Flat and Triadou are parties to an agreement dated August 4, 2014 whereby

Triadou assigned to 135 Flat Triadou’s interest in 135 West Member (the “Assignment”).

Pursuant to an agreement dated August 4, 2014, Defendants 135 Flat and 135 West Member,

together with The Chetrit Group, LLC (collectively, the “Guarantors”), agreed to guaranty the

obligations of 135 Flat under the Assignment (the “Guaranty”).

       4.      As part of the consideration to Triadou for the Assignment, 135 Flat agreed to pay

Triadou $21 million in four installments of $5,250,000 each between November 2, 2014 and

June 30, 2015 (the “Installment Obligations”) and the Guarantors agreed to guaranty such

payments. As this Court is aware, and Defendants have openly acknowledged, 135 Flat failed to

make any of Installment Obligations and was and is in default under the Assignment. The

Guarantors similarly failed to make any of Installment Obligations upon 135 Flat’s default and




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                                              2 of 9
   Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 18 of 83



were also in default under the Guaranty. Each of the defaulted Installment Obligations carry 9%

default interest from the date of default.

       5.      As a result, Triadou has been forced to commence four (4) actions in New York

Supreme Court against 135 Flat, 135 West Member and The Chetrit Group (the “Judgment

Debtors”) bearing index numbers 653462/2014, 650239/2015, 154681/2015 and 156907/2015 to

collect on the four (4) defaulted Installment Obligations. Judgments have been issued in the

actions bearing index numbers 653462/2014 and 650239/2015 in the amounts of $5,250,000

each, together with interest of 9% from the dates of default. Triadou has filed motions for

summary judgment in lieu of complaint in the actions bearing index numbers 154681/2015 and

156907/2015. (The two issued Judgments and any other judgments that are issued in Triadou’s

favor in the future are hereinafter referred to as the “135 Judgments”)

       6.      On July 7, 2015, Defendants moved by order to show cause for a stay of

proceedings on the purported ground that Defendants were at risk of potential double liability to

Triadou and non-party City of Almaty, Kazakhstan ("Almaty"). For that reason, and in

anticipation that a stay would be granted, Defendants commenced an interpleader action on July

7, 2015 in the Supreme Court of the State of New York, New York County, naming Triadou and

Almaty as defendants.

       7.      On July 9, 2015, Almaty filed a notice of removal of Defendants' interpleader

action to the United State District Court for the Southern District of New York. The removed

interpleader action is entitled CF 135 Flat LLC, CF 135 West Member LLC, and The Chetrit

Group LLC v. Triadou SPV S.A. and City of Almaty, a foreign city, 15-cv-5345 (AJN)

(hereafter, the “Federal Interpleader Action”)




                                                 3


                                             3 of 9
   Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 19 of 83



       8.      On July 13, 2015, this Court issued an order temporarily staying proceedings in

this action pending the Court's disposition of Defendants' order to show cause. On February 2,

2016, Justice Mills issued a decision and order ((NYSCEF Doc. No. 95) determining, inter alia,

that "a possibility of inconsistent judgments exists . . .[since] the court in the interpleader action

may determine that [the $21 million] should be paid to Almaty," and granting Defendants'

motion for a stay of proceedings on the condition that Defendants deposit the sum of $21 million

with the Court within 20 days of service of the order with notice of entry.” Consistent with their

pattern of disrespect for this Court’s orders, Defendants sought from the Federal court in the

interpleader action a stay of the proceedings in this Court and specifically Judge Mills February

2, 2016 order. That stay was summarily denied by the Federal court (Nathan, J.) on February 22,

2016. (A copy of Judge Nathan’s February 22, 2016 decision and order is annexed hereto as

Exhibit E.)

       9.      On February 16, 2016, Triadou served Defendants with a copy of the February 2

Order with notice of entry. On March 8, 2015, this Court issued an Order extending the deposit

deadline by 48 hours to March 10, 2016. The Court held as follows:

       Upon the foregoing papers, it is ordered that the Court declines to sign the Order
       to Show Cause as the movant has failed to present to the Court sufficient proof of
       irreparable injury and that it would likely be successful on the merits. Movant has
       not provided sufficient proof that the alleged deal would fall through, that it lacks
       the funds to pay the amount ordered by Judge Mills or that equities favor movant.
       In this matter (and related matters) Judge Mills stayed all proceedings for the
       movant to deposit the $21 million into Court. The Order was based upon
       representations of movant that it would do so. Now, without any sufficient
       evidence to the contrary and despite admitting that it owes the money, but just not
       sure who to pay, movant seeks to extend the time for such payment despite its own
       earlier representations to the contrary. Without further explanation and
       [illegible] it seeks to backtrack on its earlier representations, the Court declines
       to sign the OSC with restraints at this time. [Illegible]. (Italics added for
       emphasis).




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                                               4 of 9
   Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 20 of 83



        10.        Undeterred, Defendants moved again by order to show cause on March 10, 2016

requesting another 60 days to deposit the $21 million they admit is due and owing to Triadou.

The Court rejected Defendants’ application and issued the following order dated March 16, 2016

and entered on March 22, 2016 (NYSCEF Doc. No. 133):

        Upon the foregoing papers, it is ordered that [Defendants’ motion to stay
        proceedings] is denied for the reasons stated upon the record. There is no good
        cause basis to extend the time to post the $21 million [illegible] which Justice
        Mills ordered paid into court in consideration for obtaining the stay of entry and
        enforcement of judgments in this matter. All stays are vacated. This decision
        closes all motions extending the deadline including 156907/2015, 154681/2015 or
        650239/2015. (Italics added for emphasis).

The transcript of the March 16, 2016 hearing before this Court is annexed as Exhibit A hereto.

        11.        On March 18, 2016, Judge Nathan in the Federal Interpleader Action dismissed

Defendants’ interpleader claim entirely, holding that the Defendants’ were not subject to

potential double liability to both Triadou and Almaty because the $21 million claimed by

Triadou is not the same claim Almaty has to an interest in the Flatotel Condominium project:

“Triadou seeks from Plaintiffs the $21 million purchase price of its assignment, while Almaty

could only seek to set aside the assignment and recover its interest in the real estate holding

company. Because Plaintiffs here do not face multiple claims to the same fund, interpleader is

not appropriate in this case.” CF 135 Flat LLC v. Triadou SPV S.A., No. 15-cv- 5345 (AJN),

2016 WL 1109092, at *5 (S.D.N.Y. Mar. 18, 2016)(citation omitted). As Judge Nathan’s

decision revealed, the Defendants’ interpleader complaint was nothing more than a misguided

stalling tactic.

        12.        Significantly, Defendants have continued the interpleader action even though it

has settled with Almaty and faces no exposure to Almaty at all. According to its own

acknowledgement and submission to Judge Nathan in the Federal Interpleader Action, Almaty



                                                    5


                                                5 of 9
   Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 21 of 83



and the Defendants entered into a settlement agreement with one another (the “Settlement

Agreement”). While Defendants have refused to produce the Settlement Agreement to Triadou

(which will be the subject of a separate application to the Court), Defendants apparently

conveyed to Almaty an interest in the Flatotel Condominium project. What that means is that

Almaty and Defendants are now on the same side fighting Triadou’s enforcement of the

Judgments because every dollar paid to Triadou is less money from the project that Defendants

and Almaty will receive.

       13.     Thus, it came as no surprise that Almaty has now become the Defendants’

stalking horse in trying to block Triadou’s enforcement efforts. Incredibly, Almaty has recently

made an yet another application to Judge Nathan, this time for an injunction restraining Triadou

from enforcing the Judgments in this action. While we believe that Judge Nathan will not enjoin

these state court proceedings under any circumstances, particularly in light of her dim view of

the Defendants’ interpleader gambit and this Court’s March 8 and March 16, 2016 orders, the

Defendants’ latest tactic of using it new partner, Almaty, as a stalking horse in a further attempt

to impede Triadou’s enforcement of the Judgments strongly suggests a contumacious attitude

towards this Court’s March 16, 2016 order vacating, once and for, all stays on Triadou’s

enforcement efforts.

                                   NEED FOR A RECEIVER

       14.     There is no question at this point that Defendants will never willingly pay Triadou

the amounts Defendants concede they owe to Triadou. As a consequence, Triadou must proceed

with the most appropriate enforcement methods available. For the following reasons, the most

appropriate enforcement method here is the appointment of a receiver over the 135 LLCs and the




                                                 6


                                              6 of 9
    Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 22 of 83



valuable LLC membership interests owned by the 135 LLCs, through which LLCs indirectly

own the valuable Flatotel Condominium.

        15.      It is clear that enforcement methods other than a receiver will likely be fruitless.

The Defendants have represented to this Court that they have no funds to pay Triadou or to pay

the promised interpleader funds into Court because the Flatotel Condominium is still selling its

multi-million dollar units and the construction lender, Deutsche Bank, was still owed a

substantial amount on the construction loan. See Affidavit of Joseph Chetrit, sworn to on March

10, 2016 (“Chetrit Aff.”) (NYSCEF Doc. No. 109), ¶ 12 (“Defendants do not have any money

now. Neither CF 135 Flat LLC nor CF 135 has a bank account or any liquid assets. The Chetrit

Group's most recent available bank statements, from August 2015 through January 2016,

demonstrate that The Chetrit Group had a negative account balance for most of that period.”)1

Thus, there are apparently no bank accounts in the name of the Defendants with funds to levy

upon.

        16.      However, Mr. Chetrit also swore in his affidavit that the Deutsche Bank loan

would soon be paid off and the Flatotel Condominium would be shortly generating tens of

millions of dollars, including enough to pay the $21 million owed to Triadou. Id. ¶¶ 8-11. Mr.

Chetrit continues to thumb his nose at Triadou, however, and it is extremely unlikely he will

authorize the LLCs owned by the Defendants to distribute cash through the chain of control to

the Defendants while Triadou’s Judgments are outstanding. Mr. Chetrit, through the LLCs

owned by Defendant Judgment Debtors, controls the actions of the Defendants and those LLCs,



1
 Mr. Chetrit is a well-known New York real estate developer who has bought and sold a multitude of signature
properties, including but certainly not limited to, the Sears Tower in Chicago and the Sony Building in New York,
and was reported to keep $100 million in his personal checking account. See
http://nymag.com/daily/intelligencer/2011/07/apparently_keeping_100000000_i.html#


                                                         7


                                                     7 of 9
   Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 23 of 83



a fact of which he assured Triadou when Triadou invested in the Flatotel Condominium project.

See Exhibit B annexed hereto which include assurance letters appended to the 135 Flat Operating

Agreement.

       17.     Leaving the Defendants and their interest in the LLCs in Mr. Chetrit’s hands

virtually assures that Defendants will never receive the funds to which they are entitled under the

relevant operating agreements because there is no one to oppose Mr. Chetrit’s wishes as to how

funds are distributed through the chain of LLCs to Defendants. As a consequence, the

appointment of a receiver to pursue the Defendants’ right to distributions from the Flatotel

Condominium project is the best way — and possibly the only way — for the Defendants to

obtain funds to satisfy Triadou’s Judgments.

       18.     Specifically, a receiver must be appointed over the 135 LLCs and their

membership interest in 135 West 52nd Street Holder LLC. Since, according to the original

agreement between Defendant 135 Flat and Triadou, “[t]he operating agreements for the Fee

Owner [i.e., 135 West 52nd Street Owner LLC which owns the Flatotel Condominium] and Mezz

[i.e., 135 West 52nd Street Mezz LLC which owns all of the membership interests in the Fee

Owner] shall provide that all actions on the part of the Fee Owner and Mezz shall require the

consent of [Defendant CF 135 West Member LLC],” control by a receiver of Defendant 135

West Member would control the underlying assets (Exhibit B hereto, ¶ 4.) In addition, the

operating agreement for Defendant 135 West Member (Exhibit C hereto) provides that it controls

the management of 135 West 52nd Street Holder LLC. The operating agreement of 135 West

52nd Street Holder LLC (Exhibit D hereto), in turn, provides that 135 West Member is the

managing member of 135 West 52nd Street Holder LLC and is empowered and has the duty to

cause the Fee Owner and Mezz to operate and manage the Flatotel Condominium project, subject



                                                 8


                                               8 of 9
   Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 24 of 83



to approval of certain decisions by the 25% owner of 135 West 52nd Street Holder LLC, Clipper

135 West LLC. (Ex. D, Section 6.1.). Thus, if a receiver is appointed over Defendant 135 West

Member and its membership interest in 135 West 52nd Street Holder LLC, that receiver will have

the power to exercise control over the Fee Owner, Mezz, and the development of the Flatotel

Condominium project which is essential to the effective marshalling of assets for the satisfaction

of Triadou’s 135 Judgments.

       19.     No prior application has been made for the relief requested herein.

       WHEREFORE, for all of the foregoing reasons and those in the accompanying

memorandum of law, it is respectfully requested that the Court grant Triadou’s application for a

receiver pursuant to CPLR § 5228(a) over the Defendants 135 Flat, 135 West Member, and 135

West Member’s membership interest in 135 West 52nd Street Holder LLC and to act as the

managing member 135 West 52nd Street Holder LLC to exercise the rights as managing member

to collect all distributions, profits and any other funds to which Defendants 135 Flat and 135

West Member are entitled so as to satisfy Triadou’s 135 Judgments.

Dated: April 8, 2016



                                             ___________________________
                                                   Craig B. Kravit




                                                9


                                             9 of 9
FILED: NEW YORK COUNTY CLERK 04/11/2016 02:37 PM                             INDEX NO. 653462/2014
            Case
NYSCEF DOC. NO.   1:15-cv-05345-AJN-KHP
                144                       Document 143-17 Filed 05/12/16RECEIVED
                                                                          Page 25NYSCEF:
                                                                                  of 83 04/11/2016




                                    EXHIBIT A
Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 26 of 83
Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 27 of 83
Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 28 of 83
Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 29 of 83
Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 30 of 83
Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 31 of 83
Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 32 of 83
Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 33 of 83
Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 34 of 83
Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 35 of 83
Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 36 of 83
Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 37 of 83
Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 38 of 83
FILED: NEW YORK COUNTY CLERK 04/11/2016 02:37 PM                             INDEX NO. 653462/2014
            Case
NYSCEF DOC. NO.   1:15-cv-05345-AJN-KHP
                145                       Document 143-17 Filed 05/12/16RECEIVED
                                                                          Page 39NYSCEF:
                                                                                  of 83 04/11/2016




                                    EXHIBIT B
Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 40 of 83
Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 41 of 83
FILED: NEW YORK COUNTY CLERK 04/11/2016 02:37 PM                             INDEX NO. 653462/2014
            Case
NYSCEF DOC. NO.   1:15-cv-05345-AJN-KHP
                147                       Document 143-17 Filed 05/12/16RECEIVED
                                                                          Page 42NYSCEF:
                                                                                  of 83 04/11/2016




                                    EXHIBIT D
Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 43 of 83
Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 44 of 83
Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 45 of 83
Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 46 of 83
Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 47 of 83
Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 48 of 83
Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 49 of 83
Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 50 of 83
Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 51 of 83
Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 52 of 83
Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 53 of 83
Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 54 of 83
Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 55 of 83
Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 56 of 83
Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 57 of 83
Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 58 of 83
Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 59 of 83
Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 60 of 83
Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 61 of 83
Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 62 of 83
Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 63 of 83
Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 64 of 83
Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 65 of 83
Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 66 of 83
Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 67 of 83
Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 68 of 83
Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 69 of 83
Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 70 of 83
Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 71 of 83
Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 72 of 83
Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 73 of 83
Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 74 of 83
Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 75 of 83
Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 76 of 83
Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 77 of 83
Case 1:15-cv-05345-AJN-KHP Document 143-17 Filed 05/12/16 Page 78 of 83
FILED: NEW YORK COUNTY CLERK 04/11/2016 02:37 PM                             INDEX NO. 653462/2014
            Case
NYSCEF DOC. NO.   1:15-cv-05345-AJN-KHP
                148                       Document 143-17 Filed 05/12/16RECEIVED
                                                                          Page 79NYSCEF:
                                                                                  of 83 04/11/2016




                                     EXHIBIT E
      Case Case
           1:15-cv-05345-AJN-KHP
                1:15-cv-05345-AJN Document 143-17
                                           102 Filed
                                                   Filed
                                                      02/22/16
                                                         05/12/16
                                                                Page
                                                                  Page
                                                                     1 of80
                                                                          4 of 83



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SOUTHERN DISTRICT OF NEW YORK                                                  DOCUMENT
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     CF 135 Flat LLC et al.,                                                   DATE FILED: FEB 2 2 2016
                             Plaintiffs,
                                                                                 15-CV-5345 (AJN)
                    -v-
                                                                              MEMORANDUM AND
     Triadou SPY S.A. et al.,                                                     ORDER

                             Defendants.



ALISON J. NATHAN, District Judge:

          On February 2, 2016, New York state court Justice Donna Mills granted Plaintiffs'

request for a stay of state court proceedings related to this action. See Dkt. No. 93 Ex. A; Dkt.

No. 94. However, this stay was subject to the condition that Plaintiffs "pay the $21 million in

controversy into the New York State Court." Dkt. No. 94 at 1. Because Plaintiffs take issue

with this condition, they now request that the Court "issue an injunction staying all of the state

court proceedings, pending resolution of this action." 1 Id. at 2. For the reasons articulated

below, Plaintiffs' request is DENIED.

I.        BACKGROUND

          In August 2014, Defendant Triadou assigned its ownership interest in a limited liability

company to Plaintiffs. Am. Comp. if 8. In exchange, Plaintiffs agreed to pay Defendant Triadou

$21 million in four installment payments. Id. Alleging that Plaintiffs had failed to make the

installment payments, Defendant Triadou initiated a series of New York state court lawsuits

against Plaintiffs. Id.   if 9. These state court proceedings are currently pending before Justice

1 Plaintiffs alternatively phrase their request as a request to "enjoin any attempt by Triadou to enforce any judgment
in the state court proceedings" before Justice Mills. Dkt. No. 94 at 3.

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      Case Case
           1:15-cv-05345-AJN-KHP
                1:15-cv-05345-AJN Document 143-17
                                           102 Filed
                                                   Filed
                                                      02/22/16
                                                         05/12/16
                                                                Page
                                                                  Page
                                                                     2 of81
                                                                          4 of 83



Donna Mills. Dkt. No. 94. At some point thereafter, Plaintiffs initiated this interpleader action

against Defendant Triadou and Defendant Almaty. Based on the interpleader action, Plaintiffs

went to the state court and requested a stay. See Dkt. No. 93. On February 2, 2016, Justice Mills

issued an order granting the requested stay on the condition that Plaintiffs pay the $21 million in

controversy to the New York state court. Dkt. No. 93 Ex. A at 12; Dkt. No. 94.

         On February 17, 2016, Plaintiffs informed the Court ofJustice Mills's decision and took

issue with its "most problematic condition"-the requirement to deposit $21 million with the

state court. Dkt. No. 94 at 1. In order to avoid compliance with this condition but still obtain the

desired stay, Plaintiffs now request that this Court "issue an injunction staying all of the state

court proceedings, pending resolution of this action." Id. at 2.

II.      DISCUSSION

         "[A] federal court presiding over [a Rule 22] interpleader action may stay pending state

court proceedings involving the same interpled fund under the 'necessary in aid of its

jurisdiction' exception to the Anti-Injunction Act." Geier v. Nat'! Westminster Bank USA, 763

F. Supp. 722, 727 (S.D.N.Y. 1991) (quoting Gen. Ry. Signal Co. v. Corcoran, 921 F.2d 700, 707

(7th Cir. 1991)). In order to grant such relief, however, "the usual standards for granting a

preliminary injunction must be satisfied." Id. at 729. To obtain a preliminary injunction, "the

moving party must show: (1) it will suffer irreparable harm absent the injunction and (2) a

likelihood of success on the merits. Rodriguez ex rel. Rodriguez v. DeBuono, 175 F.3d 227, 233

(2d Cir. 1999) (quoting Jolly v. Coughlin, 76 F.3d 468, 473 (2d Cir. 1996)) (internal quotation

marks omitted).

         Plaintiffs cannot demonstrate irreparable harm. In their letter, they suggest that they face

the irreparable hann of"inconsistent judgments if the state court proceedings resume and/or



                                                      2
       Case Case
            1:15-cv-05345-AJN-KHP
                 1:15-cv-05345-AJN Document 143-17
                                            102 Filed
                                                    Filed
                                                       02/22/16
                                                          05/12/16
                                                                 Page
                                                                   Page
                                                                      3 of82
                                                                           4 of 83



Triadou attempts to enforce the judgments it holds." Dkt. No. 94 at 3. While the risk of

inconsistent judgments may be an irreparable harm justifying a stay, the state court has already

issued a conditional stay. Dkt. No. 93 Ex. A at 12. Thus, the relevant inquiry here is whether

complying with the state court's condition for obtaining the requested stay (i.e. paying $21

million to the New York state court) constitutes an irreparable injury. Although Plaintiffs allege

that "Justice Mills' Order gives Plaintiffs no way to withdraw the stake from state court," Dkt.

No. 94 at 2, it strains credulity to claim that Plaintiffs will be unable to recover their $21 million

from the state court upon resolution of this interpleader action.

          Furthermore, Plaintiffs previously represented to this Court that they were willing, if

necessary, to deposit the interpleader funds into the state court to obtain a stay from that court.

In their opposition to Defendant Triadou's motion to dismiss, Plaintiffs write:

                 "As part of Plaintiffs' July 7, 2015 order to show cause in State
                 Action 1, Plaintiffs stated that they would, if (and only if) required
                 by the state court as a condition of obtaining a stay, deposit an
                 amount equal to the judgment sum in that action ... into state court.
                 . . . Plaintiffs made this same conditional offer in State Action 2 ...
                 . If the state court ultimately requires that a deposit must be made,
                 then Plaintiffs will make the required deposit into state court."

Dkt. No. 39 at 19-20. Their prior consent to this condition seriously undermines their current

argument that the condition constitutes irreparable injury.

III.      CONCLUSION

          Because Plaintiffs cannot demonstrate that paying the $21 million of disputed funds to

the New York state court constitutes an irreparable injury, particularly in light of their previous

consent to this condition, Plaintiffs' motion is DENIED.

         As a final note, Justice Mills's order provides that Plaintiffs "may seek to modify this

order at such time as they can demonstrate that the money must be paid into the district court."



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   Case Case
        1:15-cv-05345-AJN-KHP
             1:15-cv-05345-AJN Document 143-17
                                        102 Filed
                                                Filed
                                                   02/22/16
                                                      05/12/16
                                                             Page
                                                               Page
                                                                  4 of83
                                                                       4 of 83



Dkt. No. 93 Ex. A. at 10. Thus, if, at a later date, this Court orders Plaintiffs to deposit the

interpleader funds with the Clerk of Court in this district, the Court will give Plaintiffs adequate

time to apply to Justice Mills for appropriate relief from its state court obligations.

       This resolves Dkt. No. 94.


        SO ORDERED.
                  ~\
 Dated: February _ _, 2016
        New York, New York


                                                             United States District Judge




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